Case 3:22-cv-00734-DPJ-HSO-LHS Document 272 Filed 07/08/25 Page1of1

UNITED STATES DISTRICT COURT
OFFICE OF THE CLERK

SOUTHERN DISTRICT OF MISSISSIPPI
Jackson, Mississippi

ARTHUR JOHNSTON July 8 2025 Divisions
CLERK OF COURT :
SOUTHERN at Gulfport
Arthur Johnston@ mssd.uscourts.gov 2012 15" St., Suite 403, Zip 39501
501 E. Court St., Suite 2.500 EASTERN at Hattiesburg
Jackson, MS 39201 701 N. Main St., Suite 200, Zip 39401
TELEPHONE JACKSON & WESTERN at Jackson
601-608-4010 501 E. Court St., Suite 2.500 Zip 39201

Office of the Clerk

Supreme Court of the United States
One First Street, N.E.

Washington, DC 20543

Re: Notice of Appeal
3:22-cv-00734-DPJ-HSO-LHS

Dear Intake Clerk:

Our Court is enclosing a certified copy of the above referenced Notice of
Appeal filed in our Court on 7/3/2025, along with a certified copy of our Docket Sheet.
From my understanding, the attorneys will mail the filing fee to your office.

Please let us know if you need additional information.

Yours very truly,

Arthur Johnston, Clerk

Ly Townsend5 7

Deputy Clerk

Enclosures
